Case 2:18-cv-02681-JAR-KGG Document 21-4 Filed 04/17/19 Page 1 of 2




              EXHIBIT D
         Case 2:18-cv-02681-JAR-KGG Document 21-4 Filed 04/17/19 Page 2 of 2




For Immediate Release – September 28, 2012




Scepter Holdings acquires selected Blitz assets from Bankruptcy Court.

Scepter Holdings Inc., of Toronto, Ontario, Canada, has purchased selected assets of Blitz USA,
comprising the land, buildings and machinery located in Miami, Oklahoma, for an undisclosed amount.
The transaction closed on September 28, 2012.
 “Our immediate goal is to try to address the current void in the portable fuel container market place
brought about by the forced bankruptcy of Blitz. However, the high number of product liability
lawsuits in the US concerns us. It's something we have not witnessed in any other country we sell to
around the world. All fuel cans will be manufactured to meet or exceed all applicable US and
international standards. Everyone needs to realize that gasoline must be handled in a safe manner, at all
times.” states Robert Torokvei, President of Scepter Holdings.
In the longer term, Scepter wants to build a viable export business from the Miami location and to
broaden the overall product line to take advantage of the plant’s excess capacity and available
technology.
Torokvei hopes that the Miami, Oklahoma plant will be reopened in the near future and will run as a
separate US entity under the Scepter Manufacturing, LLC banner. “We want a presence in the US and
Miami is centrally located with an excellent work force. It will take time to reorganize, build new
moulds using Scepter's current portable fuel container designs, hire and train staff, and introduce
similar quality assurance procedures as those in operation at Scepter Corporation; but we hope to be up
and running in early 2013. We look forward to being part of the community in Miami."
Scepter Holdings is a leading manufacturer of quality portable fuel containers through its wholly
owned subsidiary, Scepter Corporation. In the mid 1950s, Scepter introduced the first plastic jerry cans
for gasoline in North America. Today, besides being a leading manufacturer of portable fuel containers
for the retail market, Scepter is also the sole supplier of portable fuel containers to the US Military and
supplies 90% of the international OEM market for remote portable outboard engine fuel tanks.


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